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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

_______________________________
AUDREY L. JONES                 )
                                )                    Case Number 2:12-cv-07239-BMS
            Plaintiff           )
                                )
            vs                  )
                                )
ALLIANCE ONE                    )
RECEIVABLES MANAGEMENT )
INC.                            )
                                )
            Defendant           )
_______________________________)


                             STIPULATION OF DISMISSAL

       AND NOW, this 29th day of April 2013, it is hereby Stipulated and Agreed by and

between counsel for plaintiff and counsel for defendant that the above captioned matter be

dismissed with prejudice. All parties shall bear their own costs and attorney’s fees.



                                      Vullings Law Group, LLC

                                BY:_/s/ Brent F. Vullings
                                     Brent F. Vullings, Esquire
                                     Attorney for Plaintiff


                                      Marshall Dennehey Warner Coleman & Goggin

                                BY:_/s/ Jacob U. Ginsburg
                                     Jacob U. Ginsburg, Esquire
                                     Attorney for Defendant
